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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   CITY OF SEATTLE and CITY OF                     )
     PORTLAND                                        )
10                          PlaintiffS,              ) Case No. 17-cv-00497RAJ
                                                     )
11                  vs.                              )
                                                     ) NOTICE       OF    WITHDRAWAL                   OF
12   DONALD J. TRUMP, et al.,                        ) COUNSEL
                                                     )
13                                                   )
                                   Defendants.       )
14                                                   )
                                                     )
15                                                   )
                                                     )
16                                                   )
                                                     )
17
            TO:     CLERK OF THE COURT AND;
18
            TO:     ALL COUNSEL OF RECORD.
19
            PLEASE BE ADVISED that John Lewis of Mayer Brown LLP hereby withdraws as
20
     counsel for Plaintiffs City of Seattle and City of Portland in the above-captioned action effective
21
     on the date set forth below. Mr. Lewis will leave Mayer Brown LLP on March 23, 2018.
22
     Dated: March 21, 2018
23



     NOTICE OF WITHDRAWAL OF COUNSEL - 1                                              John Lewis
                                                                                      Mayer Brown LLP
                                                                                      1999 K Street NW
                                                                                      Washington, DC 20006
                                                                                      (202) 263-3000
           Case 2:17-cv-00497-RAJ Document 50 Filed 03/21/18 Page 2 of 3



 1
                          By:   __/s/ John Lewis______________________________
 2                              John Lewis, Pro Hac Vice
                                Mayer Brown LLP
 3
                                Withdrawing Attorney for Plaintiffs City of Seattle and
 4                              City of Portland

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     NOTICE OF WITHDRAWAL OF COUNSEL - 2                                  John Lewis
                                                                          Mayer Brown LLP
                                                                          1999 K Street NW
                                                                          Washington, DC 20006
                                                                          (202) 263-3000
               Case 2:17-cv-00497-RAJ Document 50 Filed 03/21/18 Page 3 of 3



 1                                   CERTIFICATE OF SERVICE

 2          Pursuant to RCW 9A.72.085, the undersigned certifies under penalty of perjury under the

 3   laws of the State of Washington and the United States, that on the 21st day of March, 2018, the

 4   document attached hereto was presented to the Clerk of the Court for filing and uploading to the

 5   CM/ECF system. In accordance with their ECF registration agreement and the Court’s rules, the

 6   Clerk of the Court will send e-mail notifications to counsel of record.

 7          Dated: March 21, 2018

 8

 9                                         By:     __/s/John Lewis__________________
                                                   John Lewis, Pro Hac Vice
10                                                 Mayer Brown LLP

11                                                 Withdrawing Attorney for Plaintiffs City of Seattle
                                                   and City of Portland
12

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     NOTICE OF WITHDRAWAL OF COUNSEL - 3                                             John Lewis
                                                                                     Mayer Brown LLP
                                                                                     1999 K Street NW
                                                                                     Washington, DC 20006
                                                                                     (202) 263-3000
